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UNITED STATES BANKRUPTCY COURT
DISTRICT OF SOUTH DAKOTA

Bankr. No. 05-30027
Chapter 11

In re:

SI TANKA UNIVERSITY
Tax I.D. No. XX-XXXXXXX

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)
)
Debtor. )
SI TANKA UNIVERSITY Adv. No. 05-3006
Plaintiff,

-vs-
UNITED STATES DEPARTMENT

OF THE INTERIOR,
Bureau of Indian Affairs

ADVERSARY PROCEEDING

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} ORDER CLOSING
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)
Defendant. )

Upon consideration of the record before the Court in this
adversary proceeding and in Plaintiff-Debtor’s bankruptcy case, no.
05-30027; and it appearing that Bankruptcy No. 05-30027 was
dismissed on February 8, 2006, and that no timely appeal from that
order was taken; and it also appearing that dismissal of Bankruptcy
No. 05-30027 removed jurisdiction from this Court regarding the
matters raised by Plaintiff-Debtor in this adversary proceeding;
therefore,

IT IS HEREBY ORDERED that this adversary proceeding shall be
closed.

So ordered: February 22, 2006 BY THE COURT:

Irvin N@ Hoyt
Bankruptcy Judge

NOTICE OF ENTRY
Under Fed.R.Bankr.P. 9022(a)

This order/judgment was entered
on the date shown above.

Charles L. Nail, Jr.
Clerk, U.S. Bankruptcy Court
District of South Dakota
